     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 1 of 21




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION




JULIE PAQUIN and SCOTT               :
HAEBERLIN,                           :
                                     :
                   Plaintiffs,       :         Civil Action File No.
                                     :
      v.                             :
                                     :
CITY OF ATLANTA, a municipal :                 Jury Trial Demanded
corporation of the State of Georgia; :
and KEYETTA HOLMES,                  :
Director, Office of Zoning and       :
Development,                         :
                                     :
                   Defendants.       :
______________________________ :

                                 COMPLAINT

      COME NOW Plaintiff, Julie Paquin (“Paquin”), and Plaintiff, Scott

Haeberlin (“Haeberlin”), (Paquin and Haeberlin collectively referred to herein as

“Plaintiffs”), by and through counsel undersigned, and hereby submit their

Complaint against Defendant, City of Atlanta (“the City”), and Defendant, Keyetta

Holmes (“Holmes”), (the City and Holmes collectively referred to herein as

“Defendants”), based on the following allegations:


                                         -1-
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 2 of 21




                                   Federal Law

                                         1.

      These causes of action arise under the provisions of Title VII of the Civil

Rights Act of 1964 as amended, 42 U.S.C. §§ 2000e et seq. ("Title VII"), seeking a

remedy for discrimination and retaliation; 42 U.S.C. §§ 1981 and 1983, et seq.,

seeking remedies for race discrimination and retaliation; and, under the provisions

of the Equal Pay Act of 1963 (Pub. L. 88-38), as amended (“EPA”), seeking a

remedy for discrimination, all of which occurred during the course of Plaintiffs’

employment with and termination by Defendants.

                         Parties, Jurisdiction and Venue

                                         2.

      Plaintiffs are residents of the State of Georgia and of the Northern District of

Georgia.

                                         3.

      The City is a municipal corporation of the State of Georgia, with its principal

office address located at 55 Trinity Avenue, Atlanta, Georgia 30303. The City may

be served at City of Atlanta, Department of Law, 55 Trinity Avenue, Suite 5000,

Atlanta, Georgia 30303. Holmes, the Director, Office of Zoning and Development

for the City, may be served at the same address.

                                        -2-
        Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 3 of 21




                                             4.

        The jurisdiction of this Court is proper pursuant to 28 U.S.C. §§ 1331 and

1337.

                                             5.

        Pursuant to 28 U.S.C. § 1391, venue is appropriate in this judicial district as

Defendant is a municipal corporation existing within the Northern District of

Georgia.

                                             6.

        All jurisdictional prerequisites to the institution of Plaintiffs’ suit under Title

VII have been fulfilled. Plaintiffs filed their initial Charges within 180 days of the

discriminatory acts; Plaintiffs were issued Notices of Right to Sue from the EEOC;

and, Plaintiffs now file their Complaint within 90 days of receipt of the Notices.

Paquin’s Charge of Discrimination is attached hereto as Exhibit A, and Haeberlin’s

Charge of Discrimination is attached hereto as Exhibit B.




                                           -3-
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 4 of 21




                                Factual Allegations

Julie Paquin:

                                          7.

      Paquin, a White female, began her employment with the City in October of

2017 in the Department of City Planning, Office of Zoning and Development.

Paquin’s title was Plan Review Specialist, Sr.

                                          8.

      During Paquin’s tenure, her work performance was exemplary. She was never

warned, disciplined or written up for any reason.

                                          9.

      Two Black, female supervisors, Tamaria Letang (“Letang”) and Nicole

Mitchell (“Mitchell”), persistently, openly, and often talked about “Black women in

power,” the “Black Mayor of Atlanta,” “Black girl power,” and, in general, let it be

known that they admired, supported and desired Black employees and/or new hires.

                                          10.

      More than once, Letang, told Paquin that she hoped Paquin would date a

“brother” (a Black man). Letang also referred to Paquin as “prissy” and “Barbie”

(as a Barbie Doll). Also, some of Paquin’s coworkers, in the presence of Letang

and/or Mitchell, referred to Paquin as “little White girl.”

                                         -4-
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 5 of 21




                                        11.

      On September 11, 2019, despite Paquin’s excellent work performance, Paquin

was terminated by the Interim Director, Holmes, (also a Black female). When

Paquin asked why she was being terminated, she was told that the City was an “at

will” employer and could terminate Paquin with or without cause.

                                        12.

      Paquin was completely stunned, as during her tenure, there had been multiple

Black employees in the Department who had been written up in accordance with the

City’s policies, but had not been terminated. Plaintiff could not understand why she,

an excellent employee, who had never been written up or involved in any work-

related, negative issues of any kind, would be terminated “at will.” Paquin had not

broken any company rules, nor had she acted in any manner to warrant termination.

                                        13.

      Upon information and belief, Paquin was replaced by a Black female.

Scott Haeberlin:

                                        14.

      Haeberlin, a White, gay male, began his employment with the City in July of

2014 in the Office of Buildings as a Zoning Inspector. Subsequently, Haeberlin was

promoted to Plan Review Specialist, Sr. (“PRSS”). Haeberlin, and others, were

                                        -5-
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 6 of 21




transferred to the Office of Zoning and Development, where Tamaria Letang, a

Black female, was appointed as Haeberlin’s supervisor.

                                       15.

      Excluding Haeberlin and one White female, all PRSS’s were Black.

                                       16.

      During Haeberlin’s tenure, he was never warned, disciplined or written up for

any reason.

                                       17.

      Letang and Mitchell, persistently, openly, and often talked about “Black

women in power,” the “Black Mayor of Atlanta,” “Black girl power,” and, in

general, let it be known that they admired, supported and desired Black employees

and/or new hirees.

                                       18.

      Letang often screamed and ranted at Haeberlin, and others, about President

Donald Trump because, she said, Trump did not support Black Lives Matter. She

also believed that Haeberlin was a Republican and Letang made it clear that she did

not approve of Trump supporters, negatively referring to them as “those people.”




                                       -6-
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 7 of 21




                                        19.

      Most employees in the Department were Black, and many of the Black

females in the Department were alumnae of the same sorority. They, and apparently

Letang, attended the same Baptist church.

                                        20.

      Letang knew that Haeberlin had attended Catholic schools, and that Haeberlin

was, in fact, a Catholic. Letang would often make the statement to Haeberlin, or

where he and others could easily hear, that “Catholics think they are in a religion,

but they are not.”

                                        21.

      At one point, while Letang was discussing a promotion she felt she should and

would obtain, Haeberlin disagreed. In response, Letang then made a “limp wrist”

hand gesture toward Haeberlin, derogatorily referencing his sexual orientation.

                                        22.

      On more than one occasion, first via email, and then in person, Haeberlin

complained to the City’s Human Resources Department (“HR”) regarding Letang.

Haeberlin was told that HR would investigate and asked Haeberlin to indicate his

accusations in writing. Haeberlin complied, but to his knowledge, nothing was ever



                                        -7-
      Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 8 of 21




done about his complaints regarding Letang, and Letang’s treatment of Haeberlin

did not change/improve. Eventually, Haeberlin was given a different supervisor.

                                         23.

      Despite the fact that Haeberlin had more experience than the other PRSS’s,

and in most instances, more education (Haeberlin has a master’s degree in public

administration), Plaintiff was paid approximately $2,000.00 less per year than at

least two of his peers.

                                         24.

      On September 11, 2019, Haeberlin was terminated “at will” i.e., without

cause, by the Interim Director, Holmes (also a Black female). Prior to that date,

Haeberlin had never been written up or disciplined. However, Haeberlin was aware

that multiple Black employees had previously been written up in accordance with

the City’s policies, but had not been terminated.

                                         25.

      Prior to his termination, Haeberlin was told by his supervisors that he was not

promoted because he “could not get along with Black people.”

                                         26.

      Upon information and belief, Haeberlin was replaced by a Black female.



                                        -8-
       Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 9 of 21




                                    COUNT I
             (Race, Color and Sex Discrimination with Retaliation –
                    Title VII – As to Paquin and Haeberlin)

                                        27.

       Plaintiffs incorporate by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                        28.

       Letang and/or Mitchell voiced a hiring/employee preference for Black

employees, and Black females, in particular, over employees who lacked the race,

color and sex Letang and Mitchell deemed more desirable.

                                        29.

       This illegal hiring/employee preference is established by the direct evidence

from Defendants and their agents, Letang and Mitchell, believing, indeed loudly

announcing over and over again, their hiring/employee preference for Blacks, and

Black females, in particular.

                                        30.

       This illegal hiring/employee preference created a negative impact on and

treatment toward Plaintiffs, and/or other White employees, in violation of federal

law.



                                        -9-
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 10 of 21




                                        31.

      The White Plaintiffs were selected for termination despite their exemplary

work performance, even though Black employees, who had previously been written

up, had not been terminated, despite their poor work performances.

                                        32.

      Title VII makes it an unlawful employment practice for an employer such as

the City:

                   (1) to fail or refuse to hire or to discharge any
                       individual, or otherwise to discriminate against
                       any individual with respect to his
                       compensation, terms, conditions, or privileges
                       of employment, because of such individual’s
                       race, color, religion, sex, or national origin; or

                   (2) (2) to limit, segregate, or classify employees or
                       applicants for employment in any way which
                       would deprive or tend to deprive any individual
                       of employment opportunities or otherwise
                       adversely affect his status as an employee,
                       because of such individual’s race, color,
                       religion, sex, or national origin. See 42 U.S.C.
                       § 2000e-2(a)(1)&(2) (emphasis added.)

                                        33.

      Title VII further states that an unlawful employment practice is established

when the complaining party demonstrates that race, color, religion, sex, or national



                                       - 10 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 11 of 21




origin was a motivating factor for any employment practice, even though other

factors also motivated the practice. See 42 U.S.C. § 2000e-2(m).

                                          34.

      Defendants’ treatment of Plaintiffs was motivated by and because of

Plaintiffs’ race, color, and sex, which is employment discrimination.

                                          35.

      At the time of the discriminatory acts alleged, Defendants knew or should

have known that the means utilized to discriminate and retaliate against Plaintiffs

was forbidden by law.

                                          36.

      Defendants willfully, wantonly, and intentionally violated these provisions of

Title VII, in reckless and callous disregard of Plaintiffs’ federally protected rights.

                                     COUNT II
                    (Religion Discrimination and Retaliation –
                            Title VII – As to Haeberlin)

                                          37.

      Haeberlin incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.




                                         - 11 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 12 of 21




                                        38.

      Letang and Mitchell voiced a hiring/employee preference for Black

employees, and Black females, in particular, over employees who lacked the race,

color, sex and religion Letang and Mitchell deemed more desirable.

                                        39.

      This illegal hiring/employee preference is established by direct evidence from

Defendants and their agents, Letang and Mitchell, believing, indeed loudly

announcing over and over again, their hiring/employee preference for Blacks, and

Black females, in particular.

                                        40.

      This illegal hiring/employee preference created a negative impact and

treatment toward Haeberlin, and/or any other White, male employee, in violation of

federal law.

                                        41.

      Haeberlin, a White, gay male, was selected for termination without cause,

even though many Black employees had previously not been terminated, but were

instead simply written up in accordance with the City’s policies.




                                       - 12 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 13 of 21




                                        42.

      Title VII makes it an unlawful employment practice for an employer such as

the City:

                   (1) to fail or refuse to hire or to discharge any
                       individual, or otherwise to discriminate against
                       any individual with respect to his
                       compensation, terms, conditions, or privileges
                       of employment, because of such individual’s
                       race, color, religion, sex, or national origin; or

                   (2) to limit, segregate, or classify his employees or
                       applicants for employment in any way which
                       would deprive or tend to deprive any individual
                       of employment opportunities or otherwise
                       adversely affect his status as an employee,
                       because of such individual’s race, color,
                       religion, sex, or national origin. See 42 U.S.C.
                       § 2000e-2(a)(1) & (2) (emphasis added.)

                                        43.

      Title VII further states that an unlawful employment practice is established

when the complaining party demonstrates that race, color, religion, sex, or national

origin was a motivating factor for any employment practice, even though other

factors also motivated the practice. See 42 U.S.C. § 2000e-2(m).




                                       - 13 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 14 of 21




                                         44.

      Defendants’ treatment and ultimate termination of Haeberlin was motivated

by and because of Haeberlin’s race, color, sex and religion, which is employment

discrimination.

                                         45.

      At the time of the discriminatory acts alleged, Defendants knew or should

have known that the means utilized to discriminate and retaliate against Haeberlin

were forbidden by law.

                                         46.

      Defendants willfully, wantonly, and intentionally violated these provisions of

Title VII, in reckless and callous disregard of Haeberlin’s federally protected rights.

                                  COUNT III
                  (Wage Discrimination – EPA – As to Haeberlin)

                                         47.

      Haeberlin incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                         48.

      Although Haeberlin had more experience and more education than many or

most of his peers, Haeberlin was paid less than the other PRSS’s with identical job

titles and descriptions.
                                        - 14 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 15 of 21




                                       49.

      Defendants, and/or their agents, were Haeberlin’s employer within the

meaning of the EPA as they were involved in the day-to-day operation of the

Department and had direct responsibility for supervising Haeberlin.

                                       50.

      Defendants discriminated against Haeberlin by creating a disparity in his

annual salary as compared to the annual salaries of the other PRSS’s, despite

Haeberlin having more experience and/or education.

                                       51.

      Defendants discriminated against Haeberlin on the basis of wage disparity, in

violation of the EPA.

                                       52.

      The above described wage discrimination placed stress and humiliation on

Haeberlin not endured by other employees in his peer group.

                                       53.

      At the time of the discriminatory acts alleged, Defendants knew or should

have known that the means utilized to discriminate against Haeberlin were forbidden

by law.



                                      - 15 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 16 of 21




                                         54.

      Defendants willfully, wantonly, and intentionally violated the EPA in reckless

and callous disregard of Haeberlin’s federally protected rights.

                                COUNT IV
             (42 U.S.C. § 1983: Violation of Substantive Rights
    Guaranteed by 42 U.S.C. §§ 1981, et seq. - As to Paquin and Haeberlin)

                                         55.

      Plaintiffs incorporate by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                         56.

      Defendants discriminated against Plaintiffs in violation of 42 U.S.C. §§ 1981

and 1983, et seq., by denying Plaintiffs the same contractual rights to employment

as enjoyed by Black employees of Defendants.

                                         57.

      Defendants further discriminated against Plaintiffs in violation of 42 U.S.C.

§§ 1981 and 1983, et seq., by denying Plaintiffs the equal benefits as those enjoyed

by Black employees of Defendants.

                                         58.

      Acting through their officers and supervisors, Defendants engaged in the race

discrimination described in this Complaint intentionally or with reckless

                                        - 16 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 17 of 21




indifference to the rights of Plaintiffs. Defendants’ actions were done deliberately

and with forethought to punish and discriminate against the Plaintiffs and were done

with callous and/or reckless indifference to Plaintiffs’ federally protected rights.

                                           59.

      Defendants’ racially discriminatory acts and omissions caused the Plaintiffs

to suffer tangible job detriments, as well as mental anguish and personal humiliation,

for which they seek damages in an amount to be determined at trial.

                                           60.

      Defendants’ discrimination was willful and intentional and has directly caused

Plaintiffs’ damages, further entitling them to an award of costs and attorney’s fees,

in an amount to be determined at trial.

                                  COUNT V
 (42 U.S.C. § 1983: Violation of Substantive Rights Guaranteed by the Equal
   Protection Clause of the 14th Amendment – As to Paquin and Haeberlin)

                                           61.

      Plaintiffs incorporate by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.




                                          - 17 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 18 of 21




                                         62.

      Defendants violated Plaintiffs’ federal rights protected by the federal

constitution and federal statutes and regulations under color of state law, ordinance

regulation, custom or usage in violation of 42 U.S.C. § 1983.

                                         63.

      The conduct of Defendants in terminating or failing to promote Plaintiffs

based upon their race is in violation of Plaintiffs’ rights under the Equal Protection

Clause of the Fourteenth Amendment to the United States Constitution.

                                         64.

      This violation of rights was proximately caused by Defendants who were

acting under color of state law and local ordinances, regulations, customs and usages

in violation of 42 U.S.C. § 1983.

      WHEREFORE, Plaintiffs respectfully pray for judgment against the

Defendants, as follows:

      (a)    That Defendants be ordered to formulate, distribute and implement

             written policies which do not discriminate in any manner which are

             violations of Title VII, 42 U.S.C. §§ 1981 and 1983, et seq.,, or the

             EPA;



                                        - 18 -
Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 19 of 21




 (b)   That Defendants be ordered to rehire Plaintiffs into their former

       positions, or positions substantially similar to those held prior to their

       discharge, with full salaries, seniority, and benefits running from their

       date of discharge;

 (c)   That Defendants be ordered to compensate, reimburse, and make whole

       the Plaintiffs for all the benefits they would have received had it not

       been for Defendants’ illegal actions, including but not limited to pay,

       benefits, insurance costs, bonuses, raises, training, promotions, and

       seniority.   Plaintiffs should be accorded these illegally withheld

       benefits from the date Plaintiffs were discharged until the date

       Defendants tender substantially equivalent employment, with interest,

       on the above withheld amounts, to the date of payment;

 (d)   That Plaintiffs be awarded compensatory damages and punitive

       damages to compensate for the humiliation, pain, suffering and stigma

       associated with race, color, sex and/or religion based discrimination;

 (e)   That Haeberlin recover liquidated damages for Defendants’ willful

       violations of the EPA;

 (f)   That Plaintiffs recover prejudgment interest;



                                  - 19 -
    Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 20 of 21




     (g)   That Plaintiffs recover costs and expenses of litigation including an

           award of reasonable attorney's fees;

     (h)   That the Court issue a declaratory judgment that the practices

           complained of are unlawful and void; and

     (i)   For such other and further relief as this Court deems just and proper.

                                   Jury Demand

     Plaintiffs herein demand a trial by jury of all issues in this action.

     Dated this 16th day of March 2021.

                                       PANKEY & HORLOCK, LLC


                                       By:       /s/ Larry A. Pankey          .
                                                 Larry A. Pankey
                                                 Georgia Bar No. 560725
                                                 Attorneys for Plaintiff

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                                        - 20 -
     Case 1:21-cv-01073-ELR-RDC Document 1 Filed 03/16/21 Page 21 of 21




                       CERTIFICATION OF FONT SIZE

       Pursuant to Local rule 5.1C of the Local Rules of the United States District

Court for the Northern District of Georgia, I, Larry A. Pankey, of Pankey & Horlock,

LLC, attorney for Plaintiffs, Julie Paquin and Scott Haeberlin, hereby certify that the

foregoing Complaint is typewritten in MS Word using Times New Roman font,

fourteen (14) point type.

      Dated this 16th day of March 2021.

                                        PANKEY & HORLOCK, LLC


                                        By:      /s/ Larry A. Pankey            .
                                                 Larry A. Pankey
                                                 Georgia Bar No. 560725
                                                 Attorneys for Plaintiff




                                        - 21 -
